      Case 24-03238 Document 8 Filed in TXSB on 11/21/24 Page 1 of 5




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE: ALEX E. JONES                       §
                                           §   CASE NO. 22-33553 (CML)
                       Debtor.             §
                                           §   Chapter 7
David Wheeler, Francine Wheeler,           §
Jacqueline Barden, Mark Barden,            §
Nicole Hockley, Ian Hockley, Jennifer      §
Hensel, Donna Soto, Carlee Soto-Parisi,    §
Carlos M. Soto, Jilian Soto Marino,        §
William Aldenberg, William Sherlach,       §   Adversary Pro. No. 23-03037
Robert Parker And Richard M. Coan,         §
As Chapter 7 Trustee for the Estate of     §
Erica Lafferty                             §
                                           §
       Plaintiffs,
                                           §
                                           §
vs.
                                           §
Alexander E. Jones and Free Speech         §
Systems, Llc                               §
                                           §
       Defendants                          §
Alex E. Jones, as debtor and as owner      §
and sole Manager of Free Speed             §
Systems, LLC                               §
                                           §
       Plaintiff,
                                           §
                                           §
vs.                                            Adversary Pro. No. 24-03238
                                           §
Christopher Murray, as the Chapter 7       §
                                           §
Trustee and Global Tetrahedron, LLC,
                                           §
Mark Barden, Jacqueline Barden,
                                           §
Francine Wheeler, David Wheeler, Ian
                                           §
Hockley, Nicole Hockley, Jennifer
                                           §
Hensel, William Aldenberg, William
                                           §
Sherlach, Carlos M. Soto, Donna Soto,
                                           §
Jillian Soto-Marino, Carlee Soto Parisi,
                                           §
Robert Parker, and Erica Ash
                                           §
       Defendants.                         §

NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF ALL PLEADINGS
         Case 24-03238 Document 8 Filed in TXSB on 11/21/24 Page 2 of 5




       PLEASE TAKE NOTICE that the undersigned hereby appear as counsel for Global

Tetrahedron LLC (“Tetrahedron”) in the above-captioned cases, pursuant to Rules 2002, 3017,

9007, and 9010 of the Federal Rules of Bankruptcy Procedure and 11 U.S.C. §§ 102(1), 342, and

1109(b) (“Bankruptcy Rules”) and request that all notices pleadings, motions, orders to show

cause, applications, presentments, petitions, memoranda, affidavits, declarations, and orders, or

other documents, filed or entered in these cases to be served by U.S. Mail and by email in the

above-captioned cases be given to and served upon:


                               Gregg Costa
                               Texas State Bar No. 24028160
                               Southern District Admin. No. 32779
                               GIBSON, DUNN & CRUTCHER LLP
                               811 Main Street Suite 3000
                               Houston, TX 77002-6117
                               Telephone: (346) 718-6600
                               GCosta@gibsondunn.com
                               cc: legal@theonion.com

                                               &

                               Jason Z. Goldstein (pro hac vice pending)
                               GIBSON, DUNN & CRUTCHER LLP
                               200 Park Avenue
                               New York, New York 10166-0193
                               Telephone: (212) 351-4000
                               JGoldstein@gibsondunn.com


       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and

papers referred to in the Bankruptcy Rules , but also includes orders and notices of any application,

motion, petition, pleading, request, complaint, or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, courier service, hand-delivery,

telephone, facsimile transmission, electronically, or otherwise filed with regard to the above cases.



                                                 2
         Case 24-03238 Document 8 Filed in TXSB on 11/21/24 Page 3 of 5




       PLEASE THAT FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, claim, or suit shall waive any right of the Tetrahedron to

(a) have final orders in non-core matters entered only after de novo review by a District Court

judge, (b) trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case, (c) have the District Court withdraw the reference in any matter

subject to mandatory or discretionary withdrawal, or (d) any other rights, claims, actions, defenses,

setoffs or recoupments, under agreements, in law, in equity, or otherwise, all of which rights,

claims, actions, defenses, setoffs, and recoupments are expressly reserved.




                                                 3
 Case 24-03238 Document 8 Filed in TXSB on 11/21/24 Page 4 of 5




Dated: November 21, 2024     Respectfully submitted,

                             /s/ Gregg J. Costa
                             Gregg Costa
                             Texas State Bar No. 24028160
                             Southern District Admin. No. 32779
                             GIBSON, DUNN & CRUTCHER LLP
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                             Attorneys for Global Tetrahedron LLC
         Case 24-03238 Document 8 Filed in TXSB on 11/21/24 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that, on November 21, 2024, a true and correct copy of the foregoing

document was served via email through the Bankruptcy Court’s Electronic Case Filing System on

the parties that have consented to such service.


                                                   /s/ Gregg J. Costa
                                                   Gregg J. Costa
